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             IN THE UNITED STATES DISTRICT COURT
                     DISTRICT OF KANSAS
JAMES and THERESA ARNOLD and   )
JOYCE TAYLOR,                  )
                               )
                               )
                 Plaintiffs,   )
                               )
vs.                            ) Case No.: 16-1309-JTM
                               )
MAXMIND, INC.,                 )
                               )
                 Defendant.    )
______________________________)


                STIPULATION OF DISMISSAL WITH PREJUDICE

       COME NOW the plaintiffs, James and Theresa Arnold and Joyce Taylor and

defendant MaxMind, Inc., in agreement, and stipulate to a dismissal with prejudice in

the above-captioned case pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii).

       Plaintiffs appear by and through their counsel of record, Randall K. Rathbun of

Depew Gillen Rathbun & McInteer, LC. Defendant MaxMind, Inc. appears by and

through its counsel of record, Casey O. Housley and Jordon T. Stanley of Sanders

Warren Russell & Scheer, LLP.

       It is so stipulated.
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APPROVED:

DEPEW GILLEN RATHBUN & MCINTEER LC

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